                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF IOWA
                             CENTRAL DIVISION

UNITED STATES OF AMERICA,

                                                      No. CR12-4074-4-MWB
             Plaintiff,
vs.
                                               ORDER REGARDING DEFENDANT’S
WAYNE DENHERDER,                                 SUPPLEMENTAL MOTION FOR
                                               VARIANCE FROM UNITED STATES
                                                   SENTENCING GUIDELINES
             Defendant.
                            ___________________________

       This case is before me on defendant Wayne Denherder’s Supplemental Motion for
Variance (#243) filed on June 9, 2013. The prosecution filed a Response to Defendant’s
Sentencing Motions (#246) on June 10, 2013. In his Supplemental Motion, Denherder
attempts to raise a policy disagreement with the methamphetamine guidelines as an
additional ground for a downward variance for the first time.        Denherder filed his
Motion for Variance From the United States Sentencing Guidelines (#229) on June 5,
2013. He did not raise a policy disagreement with the methamphetamine guidelines as a
ground in this motion. The prosecution did not respond to this motion. Denherder’s
sentencing is currently scheduled to be held on Wednesday, June 12, 2013.
       Local Criminal Rule 32 requires that:
             Any motion, sentencing memorandum, or brief relating to a
             sentencing issue, including any motion or brief filed under
             section “a” of this rule, must be filed, and a copy delivered to
             the assigned United States Probation Officer, at least 7 days
             before the sentencing hearing.
L. CR. R. 32(a)(2). Denherder complied with this rule when he filed his Motion for
Variance on June 5, 2013. Denherder, however, did not raise a policy disagreement



      Case 5:12-cr-04074-MWB-CJW       Document 247      Filed 06/10/13    Page 1 of 3
with the methamphetamine guidelines as one of the grounds for a downward variance in
his timely motion, and the prosecution did not respond.      Denherder’s Supplemental
Motion for Variance is untimely pursuant to L. CR. R. 32(a)(2).
      In addition, while my decision in United States v. Hayes, CR12-4040-MWB, was
entered only last week, the issue it raised, a policy disagreement with the
methamphetamine guidelines as a basis for a downward variance, should have been
obvious since Kimbrough v. United States, 552 U.S. 85 (2007).            Judge Bataillon
repeatedly raised this issue in a number of his decisions, see, e.g., United States v.
Woody, 2010 WL 2884918, *10 (D. Neb. July 20, 2010); United States v. Ortega, 2010
WL 1994870 (D. Neb. May 17, 2010); United States v. Ninchelser, 2009 WL 872441
(D. Neb. Mar. 30, 2009); United States v. Hubel, 625 F. Supp. 2d 845, 853 (2008);
United States v. Goodman, 556 F. Supp. 2d 1002, 1016 (D. Neb. 2008); United States
v. Castellanos, 2008 WL 5423858 (D. Neb. December 29, 2008); United State v.
Rocha, 2008 WL 2949242 (D. Neb. July 30, 2008), and his criticisms of the drug
guidelines as a grounds for a downward variance were amplified most recently by Judge
Gleeson’s decision in United States v. Diaz, No. 11-CR-00821-2 JG, 2013 WL 1345513,
at *1 (E.D.N.Y. Jan. 28, 2013). It is deeply perplexing to me that a CJA Panel lawyer
from Omaha, Nebraska, where Judge Batallion presides, would be so unaware of the
above line of authority,that an argument raising a policy disagreement with the
methamphetamine guidelines was not made in Denherder’s original, timely Motion for
Variance.
      Thus, I conclude that Denherder’s attempt to raise, in his Supplemental Motion
for Variance, a policy disagreement with the methamphetamine guidelines as an
additional ground for a downward variance, is untimely and will not be considered at
sentencing. The Clerk of Court is directed to strike the defendant’s Supplemental
Motion for Variance as untimely.


                                           2

    Case 5:12-cr-04074-MWB-CJW        Document 247      Filed 06/10/13    Page 2 of 3
 IT IS SO ORDERED.
 DATED this 10th day of May, 2013.



                               ______________________________________
                               MARK W. BENNETT
                               U.S. DISTRICT COURT JUDGE
                               NORTHERN DISTRICT OF IOWA




                                     3

Case 5:12-cr-04074-MWB-CJW    Document 247   Filed 06/10/13   Page 3 of 3
